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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
kk *
IN RE: 2:07-ms-00063-NA
)
LORI ANN AMBRIZ. )
) ORDER APPOINTING COUNSEL
) AND DIRECTING THE MARSHAL
) TO SERVE SUBPOENAS AT
) GOVERNMENT EXPENSE
The individual named below, having testified under oath or having otherwise
satisfied this Court that he (1) is financially unable to employ counsel and (2) does not wish to

waive counsel, and, because the interests of justice so require, the Court finds that the Defendant
is indigent, therefore;

IT IS ORDERED that the Federal Public Defender for the District of Nevada is
hereby appointed to represent Defendant, LORI ANN AMBRIZ.

IS FURTHER ORDERED that the Clerk issue subpoenas upon oral request and
ubmission of prepared subpoenas by the attorneys of the office of the Federal Public Defendant,
lnless said subpoenas are to be served outside the State of Nevada. The cost of process, fees and
rxpenses of witnesses so subpoenaed shall be paid as witness(es) subpoenaed on behalf of the
overnment. The Court is satisfied the individual is unable to pay fees and expenses of

ubpoenaed witness(es) and the United States Marshal shall provide such witness(es) subpoenaed

 

 
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1] #dvance funds for the purpose of travel within the District of Nevada and subsistence. Any
2 tubpoenas served on behalf of the individual, the return thereon to this Court shall be sealed,
3 finless otherwise ordered.

4 IT IS FURTHER ORDERED that if counsel for the individual desires subpoenas to
pe served outside the State of Nevada, further application pursuant to Federal Rules of Criminal

Procedure 17(b) shall be made to the Court, before the issuance of said subpoenas.

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DATED this 7 day of SEPTEMBER, 2007.
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